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 5
                                 UNITED STATES DISTRICT COURT
 6
                                        DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,           )
 9                                       )
                       Plaintiff,        )              Case No. 2:13-cr-00340-GMN-VCF
10                                       )
     vs.                                 )              ORDER
11                                       )
     BRETT MCSPADDEN,                    )
12                                       )
                       Defendant.        )
13   ____________________________________)
14          This matter is before the undersigned on Defendant Brett McSpadden’s Motion to Revoke
15   Appearance Bond (#183), filed April 16, 2015. The motion is not supported by any points and
16   authorities and will be denied without prejudice. See Local Criminal Rule 47-9. Accordingly,
17          IT IS HEREBY ORDERED that Defendant Brett McSpadden’s Motion to Revoke
18   Appearance Bond (#183) is denied without prejudice.
19          DATED: April 28, 2015.
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                                                ______________________________________
23                                              C.W. Hoffman, Jr.
                                                United States Magistrate Judge
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